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 PROB 12B
 (7/93)
                                   United States District Court
                                                for
                                 District of New Jersey
              Request for Modifying the Conditions or Term of Supervision
                             with Consent of the Offender
                                (Probation Form 49, Waiver ofHearing is Attached)

 Name of Offender: Dennis Rodriguez                                                           Cr.: 02-713-01
                                                                                       PACTS Number: 34086

 Name of Sentencing Judicial Officer: John C Lifland
 Name of Newly Assigned Judicial Officer: Dickinson R. Debevoise

 Date of Original Sentence: 07/16/04

 Original Offense: Conspiracy to Distribute a Controlled Substance

 Original Sentence: 46 months custody; 5 years supervised release

 Type of Supervision: Supervised Release                              Date Supervision Commenced: 02/10/06

                                        PETITIONING THE COURT

            To extend the term of supervision for     Years, for a total term of        Years.
  [ ]                                                             The   addition of the following special
  [X)       To modify the conditions of supervision as follows.
            condition(s):

        The defendant shall contribute 50 hours of community service work over a period of 6 months or less,
        from the date of this signed petition. Such service shall be without compensation, with the specific work
        placement to be approved by the U.S. Probation Office.

        The defendant shall participate in a mental health program for evaluation and/or treatment as directed
        by the U.S. Probation Office. The defendant shall remain in treatment until satisfactorily discharged and
        with the approval of the U.S. Probation Office.

                                                     CAUSE

        On January 21, 2010, the offender admitted to daily marijuana abuse resulting from stress and
        depression. As a result, he has agreed to attend mental health treatment. The 50 hour community service
        condition will serve as a sanction for his continued marijuana use.

                                                                       Res        ly submitted,

                                                                       By: Nfla’Ts&
                                                                           Senior U.S. Probation Officer
                                                                       Date: 03/17/20

  THE COURT ORDERS:

  [ ] The Modification of Conditions as Noted Above
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                                                                                        PROB 12B-Page2
                                                                                          Dennis Rodriguez


     The Extension of Supervision as Noted Above
 [ ] No Action
 []Other


                                                                    Signature of Judicial Officer


                                                                            Z          Zo (D
                                                                                Date
